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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         November 29, 2023
                     UNITED STATES DISTRICT COURT
                                                                          Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

                                         §
Jasmine Babineaux and Yolanda            §
Frank-Broussard,                         §
                                         §
             Plaintiffs,                 §     Case No. 4:23-cv-01563
                                         §
v.                                       §
                                         §
Wells Fargo Bank, N.A. as Trustee        §
for the Mastr Asset Backed               §
Securities     Trust     2007-NCW        §
Mortgage              Pass-Through       §
Certificates Series 2007-NCW,            §
                                         §
             Defendant.                  §

               MEMORANDUM AND RECOMMENDATION

      This is the latest of four related suits challenging the foreclosure and

subsequent sale of the same property. Several motions are pending.

      Defendant Wells Fargo Bank, N.A. as Trustee for the Mastr Asset

Backed Securities Trust 2007-NCW Mortgage Pass-Through Certificates

Series 2007-NCW (“Wells Fargo”) filed a motion to dismiss this suit as barred

by res judicata and to impose a panoply of sanctions against Plaintiffs Yolanda

Frank-Broussard and Jasmine Babineaux. 1 Dkt. 8. When responding to that



1 Most recently, Wells Fargo filed a motion for summary judgment on its
counterclaims to invalidate certain documents that Frank-Broussard filed in the real
property records and enjoin Frank-Broussard from filing more such documents.
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motion, Frank-Broussard embedded a challenge to this Court’s jurisdiction and

to the authority of Wells Fargo’s counsel. See Dkt. 36 at 4-6; see also Dkt. 10

(Frank-Broussard’s “motion to show authority”). Frank-Broussard also sought

leave to amend her pleading, Dkt. 49, which Wells Fargo has opposed, Dkt. 62.

      After carefully considering the motions, responses, and (where

pertinent) the evidence submitted at the lengthy October 13, 2023 show cause

hearing, it is recommended that Wells Fargo’s motion to dismiss and for

sanctions (Dkt. 8) be granted in part and denied in part. Specifically, this suit

should be dismissed with prejudice, and monetary sanctions and a pre-suit

injunction should be imposed against Frank-Broussard.           But no sanctions

should be imposed against co-Plaintiff Jasmine Babineaux or non-party

Dykeba Frank. It is also recommended that Frank-Broussard’s challenges to

jurisdiction and counsel’s authority (Dkt. 10; Dkt. 36 at 4-6) be rejected.

Frank-Broussard’s motion for leave to amend (Dkt. 49) is denied.

      At the show cause hearing, Babineaux also made an unopposed oral

motion to dismiss her own claims against Wells Fargo, with prejudice. See

Dkt. 68 at 257-58. It is recommended that Babineaux’s motion be granted.




Dkt. 70. That motion is not yet ripe and will be addressed in a separate Memorandum
and Recommendation.


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                   Background and Factual Findings

      The following findings pertinent to Wells Fargo’s request for sanctions

are based on a preponderance of the evidence, including the record of this case

and of prior cases that are matters of public record, and the testimony and

documents admitted at the October 13, 2023 show cause hearing.

      A.    Frank-Broussard failed to make payments on a note that
            was secured by the underlying property.

      On February 22, 2007, Frank-Broussard borrowed $75,650.00 from

Home123 Corporation pursuant to a promissory note. See Dkt. 71-1 (DX-1,

Feb. 22, 2007 promissory note). The note was secured by a property at 6111

Westover Street in Houston, Texas, 77033 (the “Property”). See Dkt. 71-2 (DX-

2, Feb. 22, 2007 deed of trust); Dkt. 57-2 (PX-2, same deed of trust). Frank-

Broussard stopped making payments in late 2015. Dkt. 68 at 63-64. In the

interim, the deed of trust was assigned to Wells Fargo. Dkt. 71-3 (DX-3, July

23, 2015 assignment from Mortgage Electronic Registration Systems, Inc., as

nominee for Home 123 Corporation) (hereinafter “2015 Assignment”).

      B.    Frank-Broussard filed a series of suits attempting to
            thwart foreclosure.

      In January 2016, the loan servicer, Specialized Loan Servicing LLC

(“SLS”), sent Frank-Broussard a notice of default. Dkt. 71-4 (DX-4). The notice

kicked off a years-long campaign by Frank-Broussard to impede foreclosure.




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            1.    Frank-Broussard’s serial bankruptcy filings

      Frank-Broussard’s efforts began in the bankruptcy court. On July 4,

2016, she filed for chapter 13 relief. See In re Frank-Broussard, No. 4:16-bk-

33360 (Bankr. S.D. Tex. July 4, 2016) (hereinafter First Bankruptcy); Dkt. 71-

12 (DX-12, docket sheet); Dkt. 71-13 (DX-13, petition). She was represented

by counsel. See Dkt. 71-12 at 1 (DX-12, docket sheet).

      By her own admission, Frank-Broussard filed the bankruptcy petition

because the Property had been posted for foreclosure sale. See Dkt. 68 at 66.

She later filed a motion to voluntarily dismiss the case, which was granted on

July 29, 2016. See In re Frank-Broussard, No. 4:16-bk-33360, Dkt. 19 (motion),

Dkt. 27 (order granting motion to dismiss); see also Dkt. 71-14 (DX-14).

      Frank-Broussard then turned around and filed a new, pro se bankruptcy

petition on October 3, 2016. See In re Frank-Broussard, 4:16-bk-34939 (Bankr.

S.D. Tex. Oct. 3, 2016) (hereinafter Second Bankruptcy); Dkt. 71-15 (DX-15,

docket sheet). She eventually obtained counsel to represent her, but counsel

withdrew. See Second Bankruptcy, 4:16-bk-34939, Dkt. 71 (Feb. 15, 2017

motion to withdraw), Dkt. 74 (Feb. 16, 2017 order granting motion). Acting

pro se, Frank-Broussard filed a related adversary proceeding (No. 17-03138)

against Wells Fargo, challenging (among other things) the foreclosure action

initiated “on June 13, 2016 and August 29, 2016,” asserting violations of the

Federal Debt Collection Practices Act (“FDCPA”), and disputing the validity of


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certain charges and documents. See id., Dkt. 76 ¶¶ 17-20, 22-26, 28, 30, 31-32,

35 (filed Mar. 1, 2017); see also Dkt. 71-18 (DX-18).

       On April 20, 2017, the bankruptcy court granted the chapter 13 trustee’s

motion to dismiss the main case. See Second Bankruptcy, 4:16-bk-34939, Dkt.

114.   Notably, the court’s order further prohibited Frank-Broussard from

“refil[ing] another bankruptcy petition unless she is represented by a board-

certified bankruptcy attorney.” Id.; see also Dkt. 71-17 (DX-17). Dismissal of

the main case also resulted in dismissal of the adversary proceeding. See

Second Bankruptcy, 4:16-bk-34939, Dkt. 115 (April 20, 2017 order dismissing

adversary proceeding); Dkt. 71-19 (DX-19).

       A few months later, on September 5, 2017, Frank-Broussard filed a third

bankruptcy petition, this time invoking chapter 7. See In re Frank-Broussard,

No. 4:17-bk-35280 (Bankr. S.D. Tex. Sept. 5, 2017) (hereinafter Third

Bankruptcy); Dkt. 71-20 (DX-20, docket sheet). The petition listed, as her

counsel, Alex Acosta. Dkt. 71-21 at 7 (DX-21); see also Third Bankruptcy, No.

4:17-bk-35280, Dkt. 1 at 7. But Mr. Acosta informed the court that he had not

agreed to represent Frank-Broussard nor prepared the petition; rather, Frank-

Broussard had consulted with an attorney at Acosta Law, P.C. “to discuss

possible bankruptcy options” hours after Frank-Broussard had filed the

petition using Mr. Acosta’s name. See Third Bankruptcy, No. 4:17-35280, Dkt.

23 ¶¶ 5, 7, 9-10. Upon reviewing the court’s preclusion order in the Second


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Bankruptcy, the attorney who met with Frank-Broussard had told her neither

he nor Mr. Acosta was board-certified in bankruptcy and thus could not

represent her. See id. ¶ 6.

      After a show cause hearing, the bankruptcy court issued findings of fact

and conclusions of law, concluding that Frank-Broussard had falsely used Mr.

Acosta’s name on her chapter 7 petition, even though no one at Mr. Acosta’s

firm had agreed to represent her.        Third Bankruptcy, No. 17-bk-35280,

Dkt. 48 ¶ 13 (entered March 21, 2018); see also Dkt. 71-22 ¶ 13 (DX-22).

Notably, the court also found that Frank-Broussard had improperly filed the

petition, with its false representation, to halt the foreclosure sale that was to

be held later the same day. Third Bankruptcy, No. 17-bk-35280, Dkt. 48 ¶ 13.

      The bankruptcy court granted SLS’s request to terminate the automatic

stay in bankruptcy and allow SLS to pursue its right to foreclose on the

Property.   Id. at 12.   Separately, the court imposed $4,450 in monetary

sanctions against Frank-Broussard for her “egregious misconduct” in forging

Mr. Acosta’s signature on the petition. Third Bankruptcy, No. 17-bk-35280,

Dkt. 50 at 21; see also Dkt. 71-23 (DX-23). On March 30, 2018, the court

dismissed the case. See Third Bankruptcy, No. 17-bk-35280, Dkt. 51 at 1; see

also Dkt. 71-24 at 1 (DX-24).




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             2.     Frank-Broussard’s three subsequent lawsuits and yet
                    another bankruptcy filing.

      After her bankruptcy strategy failed, Frank-Broussard pivoted to filing

lawsuits to thwart foreclosure—first against the loan servicer, SLS, and then

against Wells Fargo. This is the fourth of those suits.

      On July 2, 2018, Frank-Broussard, together with her daughter, Dykeba

Frank, see Dkt. 68 at 93, sued SLS in Texas state court. 2 Dkt. 71-25 (DX-25);

see also Plaintiff’s Original Petition and Application for Temporary

Restraining Order & Temporary Injunction, Frank Broussard v. Specialized

Loan Servicing, LLC, No. 2018-44213, Envelope No. 25700260 (11th Jud. Dist.

Ct., Harris Cnty., Tex. July 2, 2018). They were represented by counsel. See

Dkt. 71-25 at 14. The petition alleged violations of Section 51.002(b) of the

Texas Property Code, the Real Estate Settlement Procedures Act (“RESPA”),

the Texas Debt Collection Practices Act (“TDCPA”), asserted claims to quiet

title and for trespass to try title, and sought a temporary restraining order

(“TRO”) to prevent foreclosure. See id. at 5-12. The trial court issued a TRO

on July 2, 2018, which expired by its terms on July 17, 2018. See Frank-



2 On June 5, 2017, Frank-Broussard filed in the real property records a warranty

deed conveying the Property to Dykeba Frank for $10.00. Dkt. 71-7 (DX-7). This
occurred long after the deed of trust was assigned to Wells Fargo in 2015. Despite
the date on the warranty deed (January 1, 2007), Frank-Broussard admitted that she
created this deed in response to Wells Fargo’s attempts to enforce its interests in the
Property. See Dkt. 68 at 97 (testifying that she deeded the Property to her daughter
“[b]ecause you guys kept filing fraudulent deed records”).


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Broussard, No. 2018-44213, Envelope No. 25700260. SLS removed the case to

this Court. See Broussard v. Specialized Loan Servicing, LLC, No. 4:18-cv-

02415, Dkt. 1 (S.D. Tex. July 13, 2018) (hereinafter 2018 Suit). A few weeks

later, Frank-Broussard’s counsel withdrew. See id., Dkt. 11, 12.

      The 2018 Suit was resolved unfavorably to Frank-Broussard. On April

18, 2019, this Court entered an order granting SLS’s motion for judgment on

the pleadings. 3 See Dkt. 71-26 (DX-26); see also 2018 Suit, No. 4:18-cv-02415,

Dkt. 23. The Court later granted default judgment to SLS on its counterclaims

to invalidate two documents—both dated August 2, 2017 (No. RP-2017-348458

and No. RP-2018-248103)—filed in the real property records by Frank-

Broussard and purporting to rescind the 2015 Assignment of the deed of trust

to Wells Fargo. 4 See 2018 Suit, No. 4:18-cv-02415, Dkt. 33 (entered September

18, 2019); see also Dkt. 71-27 (DX-27, default judgment); Dkt. 71-5, Dkt. 71-6

(DX-5, DX-6, rescission instruments).

      After the 2018 Suit was resolved, SLS sent Frank-Broussard another

notice of acceleration and posted the Property for a foreclosure sale on

February 4, 2020. See Dkt. 8-10 (DX-J, notice of trustee’s sale); Dkt. 8-11 (DX-


3 Broussard v. Specialized Loan Servicing, LLC, No. 4:18-cv-02415, 2019 WL
13254589 (S.D. Tex. Apr. 18, 2019) (Hittner, J.).
4 Notably, the docket sheet in the 2018 Suit reflects that Frank-Broussard refused

the Court’s mailings that notified her of orders and hearings. See, e.g., 2018 Suit, No.
4:18-cv-02415, Dkt. 19, 22, 24, 29-31, 34 (envelopes were marked “REF”). As noted
infra, Frank-Broussard has similarly evaded service in this suit.


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K, Jan. 2, 2020 notice of acceleration). That prompted Frank-Broussard to file

another suit. See Dkt. 68 at 132-33.

      On February 3, 2020—the day before the scheduled sale, see Dkt. 8-10—

Frank-Broussard filed a pro se action against SLS in state court, asserting the

same claims that were rejected in the 2018 Suit. Compare Plaintiff’s Original

Petition and Application for Temporary Restraining Order & Temporary

Injunction, Frank v. Specialized Loan Servicing, LLC, No. 2020-07259 (164th

Jud. Dist. Ct., Harris Cnty., Tex. Feb. 3, 2020), with 2018 Suit, No. 4:18-cv-

02415, Dkt. 23; see also Dkt. 71-28 at 6-10 (DX-28, 2020 petition asserting

claims under Tex. Prop. Code § 51.002(d), RESPA, and TDCPA and for quiet

title and trespass to try title). Although Frank-Broussard sought a TRO, the

trial court did not grant the requested relief. Accordingly, the foreclosure sale

proceeded as scheduled on February 4, 2020; as the highest bidder, Wells Fargo

purchased the property.     Dkt. 71-9 (DX-9, February 12, 2020 substitute

trustee’s deed, recorded February 21, 2020).

      SLS removed Frank-Broussard’s suit to this Court, see Frank v.

Specialized Loan Servicing, LLC, No. 4:20-cv-00476, Dkt. 1 (S.D. Tex. Feb. 12,

2020) (hereinafter 2020 Suit). In the 2020 Suit, this Court granted SLS’s

motion for judgment on the pleadings, concluding that Frank-Broussard’s

claims had already been resolved in the 2018 Suit and, thus, were barred by




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res judicata. 5 See 2020 Suit, No. 4:20-cv-00476, Dkt. 15 at 5-7; Dkt. 71-29 at

5-7 (DX-29). The same day—June 24, 2020—the Court dismissed the case with

prejudice. See 2020 Suit, No. 4:20-CV-00476, Dkt. 16.

      After the 2020 Suit ended, COVID-19 moratoriums precluded Wells

Fargo from evicting Frank-Broussard (or other occupants of the Property) and

taking possession of the Property. See Dkt. 8 ¶ 21. When the moratoriums

expired, Wells Fargo allegedly obtained a writ of possession that was set to be

served on November 8, 2021. See id.

      But on November 2, 2021, Frank-Broussard filed yet another pro se

chapter 13 bankruptcy petition. See In re Frank-Broussard, No. 21-bk-33598,

Dkt. 1 (Bankr. S.D. Tex. Nov. 2, 2021) (hereinafter Fourth Bankruptcy); see

also Dkt. 71-30 (DX-30, docket sheet); Dkt. 71-31 (DX-31, petition). This filing

violated the bankruptcy court’s prior order forbidding Frank-Broussard from

filing for bankruptcy unless she was represented by a board-certified

bankruptcy attorney.      See Dkt. 71-17.         The bankruptcy court struck the

petition. See Fourth Bankruptcy, No. 21-bk-33598, Dkt. 28 (entered December

7, 2021); Dkt. 71-32 (DX-32).




5 Frank v. Specialized Loan Servicing, LLC, No. 4:20-cv-00476, 2020 WL 3473716, at

*3-4 (S.D. Tex. June 24, 2020) (Rosenthal, J.).


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      Undeterred, Frank-Broussard, together with her daughter, Dykeba 6—

and represented by counsel—filed a third state court suit on January 4, 2022,

this time against Wells Fargo Bank, N.A. 7 See Plaintiff’s Original Petition,

Application for Temporary Restraining Order and Temporary Injunction and

Request for Disclosures, Frank v. Wells Fargo Bank, N.A., No. 2022-00332,

Envelope No. 60455740 (80th Jud. Dist. Ct., Harris Cnty., Tex. Jan. 4, 2022).

The petition asserted claims under Section 51.002 of the Texas Property Code,

for quiet title, and under Section 12.002 of the Texas Civil Practice and

Remedies Code. See id. at 5-9.

      Like her prior suits, Frank-Broussard sought to invalidate the

defendant’s interest in the Property. See, e.g., id. at 6 (asserting that defendant

“fraudulently prepared documents”); id. at 8 (alleging that defendant has no

right to the Property); id. at 9 (alleging that defendant used or presented a

fraudulent lien or claim against the Property). Frank-Broussard immediately

obtained a TRO to prevent eviction and execution of a writ of possession, see

id., Envelope No. 60455740 (signed Jan. 4, 2022), but the defendant removed

the case to this Court, see Frank v. Wells Fargo Bank, N.A. as Trustee for the

Mastr Asset Backed Secs. Trust 2007-NCE Mortgage Pass-Through Certificates


6 Dykeba lived at the Property during this time.   See Dkt. 68 at 137.
7 Wells Fargo submitted a copy of the original petition bearing the incorrect header.

Dkt. 71-33 (DX-33). Instead, the Court takes judicial notice of the petition that is
available in the public records.


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Series 2007-NCW, No. 4:22-cv-00065, Dkt. 1 (S.D. Tex. Jan. 7, 2022)

(hereinafter 2022 Suit). Because Frank-Broussard had sued the wrong “Wells

Fargo” entity, the Court granted a request to substitute the current Wells

Fargo entity—the trustee under the 2015 Assignment and purchaser of the

Property at the February 2020 foreclosure sale—as the proper defendant, see

2022 Suit, No. 4:22-cv-00065, Dkt. 7 (motion); id., Dkt. 9 (order).

      In the 2022 Suit, Wells Fargo filed a combined motion to dismiss and for

summary judgment. See id., Dkt. 15. It also filed a motion for sanctions,

invoking Texas law and Rule 11 of the Federal Rules of Civil Procedure. See

id., Dkt. 23. As sanctions, Wells Fargo sought both monetary relief and an

injunction to prohibit Frank-Broussard and Dykeba from filing future suits in

state or federal court without prior permission. See id. After these motions

were filed, the Court referred the case to the undersigned judge. Id., Dkt. 25.

      In a July 21, 2023 opinion, 8 the undersigned recommended dismissing

Frank-Broussard’s and Dykeba’s claims under the Texas Property Code and

for quiet title because they had been raised and rejected in both the 2018 Suit

and 2020 Suit, and the close relationship between SLS, the defendant in the

prior suits who serviced the underlying mortgage, and Wells Fargo, the



8 Frank v. Wells Fargo Bank, N.A., as Trustee for the Mastr Asset Backed Secs. Trust

2007-NCW Mortgage Pass-Through Certificates Series 2007-NCW, 2023 WL 4880785
(S.D. Tex. July 21, 2023), adopted by 2023 WL 5279464 (S.D. Tex. Aug. 16, 2023).


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trustee, satisfied the privity requirement. See id., Dkt. 26 at 8-13; see also Dkt.

71-34 at 8-13 (DX-34). The opinion further recommended granting summary

judgment on the claim alleging that Wells Fargo violated Section 12.002 of the

Texas Civil Practice and Remedies Code because the plaintiffs proffered no

evidence that Wells Fargo made or used fraudulent documents to establish a

lien on the Property. See 2022 Suit, No. 4:22-cv-00065, Dkt. 26 at 13-15.

      As for sanctions, the opinion concluded that the suit was wholly

groundless and filed solely to delay Wells Fargo’s exercise of its rights to the

Property. See id. at 16. Ultimately, however, the opinion recommended that

the Court decline to issue a pre-suit injunction under Fed. R. Civ. P. 11 and

Texas rules and impose monetary sanctions instead. See id. at 23.

      This Court adopted the recommendation, dismissed all claims against

Wells Fargo, and awarded Wells Fargo $14,789.66 in reasonable attorneys’ fees

and costs as sanctions against Frank-Broussard and Dykeba. See 2022 Suit,

No. 4:22-cv-00065, Dkt. 29 at 1-2 (entered August 16, 2023); see also Dkt. 71-

35 (DX-35). Final judgment dismissing the case with prejudice was entered on

August 29, 2023. See 2022 Suit, No. 4:22-cv-00065, Dkt. 30.




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      C.    Frank-Broussard, joined by her niece, filed this fourth suit
            raising the same claims that had already been rejected.

            1.    Wells Fargo moved to dismiss the suit and requested that
                  Plaintiffs be sanctioned.

      To short-circuit the proceedings in the 2022 Suit, Frank-Broussard

turned around—this time joined by her niece, Jasmine Babineaux (together,

“Plaintiffs”), see Dkt. 68 at 93-94—and filed the current suit in state court,

styled as an “Emergency Petition” and request for TRO.            See Plaintiff’s

Emergency Petition and Application for Temporary Restraining Order and

Temporary Injunction, Babineaux v. Wells Fargo Bank, N.A., as Trustee for the

Mastr Asset Backed Secs. Trust 2007-NCW Mortgage Pass-Through

Certificates Series 2007-NCW, No. 2023-24436, Envelope No. 74781620 (270th

Jud. Dist. Ct., Harris Cnty., Tex. Apr. 18, 2023); see also Dkt. 71-36 (DX-36).

Notably, Plaintiffs filed this suit just before an eviction trial was to begin on

April 20, 2023. See Dkt. 8 ¶ 24. The trial court issued an ex parte TRO that

stopped the trial.    See TRO, Babineaux, No. 2023-24436, Envelope No.

74781620 (signed April 20, 2023).

      Like the prior suits, this latest suit asserts claims for fraudulent liens

under Texas Civil Practice and Remedies Code (i.e., Section 12.002), violations




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of the TDCPA, and trespass to try title. 9 See id. at 4-5. Also like the prior

suits, the latest allegations dispute the validity of Wells Fargo’s interests. See

id. at 5-8. Wells Fargo removed the case to this Court based on diversity

jurisdiction. See Dkt. 1 ¶¶ 8-11 (invoking 28 U.S.C. § 1332).

      Wells Fargo then filed a motion to dismiss the claims and to impose

sanctions. Dkt. 8. In substance, Wells Fargo’s motion argued that Plaintiffs’

suit is barred because it raises the same claims this Court rejected in the prior

suits. See id. ¶ 25 (asserting claim preclusion). Invoking both Rule 11 of the

Federal Rules of Civil Procedure and Section 11.054 of the Texas Civil Practice

and Remedies Code, Wells Fargo further requested that Frank-Broussard,

Babineaux, and non-party Dykeba be classified as vexatious litigants. Id. ¶¶

26, 29, 35. As relief, Wells Fargo asked the Court to (a) dismiss all claims; (b)

order all three individuals to pay Wells Fargo’s reasonable attorneys’ fees and

costs; and (c) enjoin all three individuals from filing any new cases, whether in

federal or state court, without prior permission of a judge in the court where

they intend to file. Id. ¶¶ 36-41, 43.




9 According to the petition, Babineaux had purchased the Property from Dykeba on

November 7, 2022 “free and clear of all liens.” Dkt. 71-36 at 3 (DX-36). But the
attached general warranty deed explicitly states that the conveyance is “subject to all
... encumbrances ... relating to the Property filed for record in Harris County, Texas.”
Id., Ex. B; see also Dkt. 71-11 (DX-11).


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            2.     Plaintiffs did not respond or appear at the first sanctions
                   hearing.

      Plaintiffs did not respond to Wells Fargo’s motion to dismiss their claims

and impose sanctions. Although Wells Fargo properly served the motion by

sending it via first-class mail, see Fed. R. Civ. P. 5(b)(2)(C), Frank-Broussard

refused delivery. See Dkt. 9. Indeed, she consistently did so with respect to all

filings—even those sent by the Court, see, e.g., Dkt. 11, 12, 24—despite

confirming that the filings were sent to the correct address, Dkt. 68 at 7-8.

Frank-Broussard admitted she intentionally refused Wells Fargo’s mailings.

Dkt. 68 at 120 (admitting “absolutely” that she refused those mailings).

Babineaux also admitted that she avoided service because Frank-Broussard

told her “not to open” the mailings. Id. at 227. The Court finds no valid

justification for these refusals.

      In the interim, Frank-Broussard filed a “Sworn Motion for Attorney to

Show Authority Texas Rule of Civil Procedure, Rule 12.” Dkt. 10. The motion

argued that Wells Fargo’s counsel should not be allowed to defend their client

and that Wells Fargo is not a cognizable entity. See id. at 6-7.

            3.     Hearings and filings leading up to the show cause hearing.

      Wells Fargo’s request for a pre-suit injunction, as sanctions, prompted

the undersigned to set a hearing for August 28, 2023. See Dkt. 16 at 2 (August




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22, 2023 order). Because Frank-Broussard had returned the Court’s mailings,

the order directed the U.S. Marshals to effectuate in-person service. See id.

      Both Frank-Broussard and Babineaux evaded service by refusing to

meet with the Deputy Marshal—although the Marshal informed them about

the impending hearing. See Dkt. 19 & 20. In the interim, and at the Court’s

request, see Dkt. 16 at 2, Wells Fargo filed a brief with additional authority

supporting the imposition of a pre-suit injunction that would preclude

Plaintiffs from filing further suits without the court’s permission, Dkt. 21.

      Plaintiffs failed to appear at the August 28, 2023 hearing. As belt-and-

suspenders, however, the Court then issued another show cause order, this

time directing Plaintiffs to present written submissions explaining “why they

should not be barred from filing, whether in state or federal court, any further

lawsuits concerning the foreclosure of the underlying property.” Dkt. 26 at 2.

The order stated that Plaintiffs could request another hearing but set a

deadline for doing so. Id. As a precautionary measure, the order directed the

U.S. Marshals to serve the show cause order on Plaintiffs. Id. at 2-3.

      Ultimately, Deputy U.S. Marshal William Simon served Frank-

Broussard with the show cause order. See Dkt. 48; Dkt. 68 at 214. Service on

Babineaux, however, was not successful. Babineaux evaded service, either by

agreeing to meet with Deputy Simon but failing to follow through, or by

refusing to respond to his calls and voice messages. See Dkt. 68 at 219-25.


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Each call from Deputy Simon to Babineaux precipitated complaints from

Frank-Broussard, see id. at 217-19, 221-23, who asserted that Babineaux was

“not involved” or that Deputy Simon “had a vendetta,” id. at 218, 222.

      Frank-Broussard responded to the show cause order and requested a

hearing. Dkt. 36. The filing globally asserted, in conclusory fashion, that the

proceedings are unlawful and that the filings by Wells Fargo’s counsel are

fraudulent and invalid. Id. ¶¶ 2, 4. Frank-Broussard even objected to her own

“documents, accusations, etc.” that were submitted in this case. Id. ¶ 5. And

Frank-Broussard accused Wells Fargo’s counsel, without any articulated basis,

of sending “harmful US Mail and/or infected electronic files” and copies of

documents that were not “true and correct” and “forg[ing] Judges and Clerks

[sic] signatures on alleged Judgements and Court Orders ....” Id. ¶¶ 3, 6. The

filing alleges that Wells Fargo’s counsel lacks authority and is engaged in

wrongdoing “in concert with Harris County Assistant County Attorneys,” id.

¶¶ 11-13, 18, and that there is no jurisdiction because the Wells Fargo entity

in this case “does not exist” or “has no standing” to foreclose, id. ¶¶ 9-10, 21.

      Frank-Broussard also attached an affidavit lodging a litany of

complaints against numerous attorneys and judges, asserting—again, in

conclusory fashion—that everyone was part of a “conspiracy of fraud” related

to the Property. See Dkt. 37 at 2-3. Separately, Frank-Broussard filed a

request for TRO and preliminary injunction. Dkt. 38.


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      The Court then issued an order setting a combined evidentiary hearing

and show cause hearing, for October 13, 2023, to resolve both the sanctions

issue and Frank-Broussard’s request for TRO. Dkt. 39. Nonetheless, Frank-

Broussard filed a second motion for TRO and preliminary injunction, this one

styled as an emergency.       Dkt. 40.    The undersigned promptly issued a

Memorandum and Recommendation to deny Frank-Broussard’s requested

relief. Dkt. 41 at 2, 13. The opinion concludes, in key part, that her claims are

barred by claim preclusion, i.e., res judicata. See id. at 8-11. Plaintiffs did not

file objections to the recommendations.

            4.     The October 13, 2023 show cause hearing

      Because the Memorandum and Recommendation had already addressed

Frank-Broussard’s request for TRO and injunctive relief, the sole remaining

issue for the October 13, 2023 hearing was whether Frank-Broussard,

Babineaux, or both should be classified as vexatious litigants and sanctioned

as a result. Frank-Broussard appeared at the hearing. Babineaux initially

failed to appear but showed up partway through the proceeding.

      Frank-Broussard’s         testimony.      Frank-Broussard’s       testimony

reinforced Wells Fargo’s position that she has abused and will continue to

abuse the judicial system to impair Wells Fargo’s rights to dispose of the

Property. Indeed, Frank-Broussard candidly admitted she “[p]robably” will file




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yet more suits against Wells Fargo—and perhaps others—concerning the

Property. See Dkt. 68 at 171.

      Moreover, Frank-Broussard’s purported justifications for her conduct

merely attempted to relitigate the merits of the prior suits that were resolved

against her. See, e.g., id. 87-88 (attempting to challenge finding, in the Third

Bankruptcy, that she filed a fraudulent petition); id. at 103 (disputing validity

of the 2015 Assignment to Wells Fargo); id. at 119 (asserting Wells Fargo “ha[s]

no right” to the Property); id. at 131-32 (asserting documents supporting

foreclosure were “fraudulent”); id. at 149 (disputing the Court’s ruling that the

2022 Suit was frivolous); id. at 157 (denying that prior suits challenging

foreclosure were resolved against her); id. at 179 (asserting Wells Fargo’s “deed

or whatever was fraudulent deed records”); id. at 196 (disputing that she filed

a fraudulent petition in the Third Bankruptcy).

      She accused all her prior attorneys and opposing counsel of wrongdoing.

See id. at 65 (First Bankruptcy); id. at 80-81 (alleging she filed the adversary

proceeding related to the Second Bankruptcy “[a]t the improper advice of

hostile attorneys”); id. at 85 (accusing various attorneys of trying to frame her

for “forgery and perjury or whatever”); id. at 128 (alleging her attorney in the

2018 Suit was “compromised” by Wells Fargo’s attorneys); id. at 146, 154, 172

(alleging her counsel in the 2022 Suit had engaged in a “conspiracy of fraud”

and was “dirty”). And she denied filing or improperly challenged documents


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that she plainly filed. See, e.g., id. at 37 (alleging her Fourth Bankruptcy filing,

DX-31, was “a conspiracy of fraud”); id. at 84-85 (asserting her own filing in

the Third Bankruptcy, DX-20, was “fraudulent”); id. at 129 (asserting her

petition in the 2020 Suit, DX-28, was a “[f]raudulent record”). Along similar

lines, Frank-Broussard insisted that documents taken straight out of public

records were fraudulent or inauthentic. See, e.g., id. at 129 (alleging that her

petition in the 2018 Suit, DX-28, was a “[f]raudulent record”).

      In fact, Frank-Broussard characterized as “fraud” or “forged” every

document or action that did not favor her position, whether they were court

records or property records. 10 See, e.g., id. at 82 (accusing bankruptcy judge of

being “involved in a conspiracy of fraud”); id. at 89 (asserting that bankruptcy

judge’s finding that she falsely used Alex Acosta’s signature was “fraud”); id.

at 112 (alleging that the original note and deed of trust, DX-1 and DX-2, were

“[f]raudulent documents”); id. at 127-28 (asserting the Court’s default

judgment against her in the 2018 Suit, DX-27, was “fraud”); id. at 134, 157

(asserting that Feb. 4, 2020 substitute trustee’s deed was “fraudulent”); id. at

135-36 (asserting that the Court’s opinion rejecting her claims in the 2020 Suit,

DX-29 was “forged”); id. at 136-37 (claiming that public records reflecting that



10 Wells Fargo properly authenticated copies of the promissory note, deed of trust, the

2015 Assignment, the notice of default, and the substitute trustee’s deed. Dkt. 61
(business records affidavit).


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the 2018 Suit and 2020 Suit were resolved against her were “fraudulent

documents”); id. at 151-52 (alleging that the petition in this suit, pulled from

the public record, DX-36 was not “true and correct”).

      Put simply, Frank-Broussard’s denials and her multifarious allegations

of wrongdoing were not credible. None of them was substantiated by the

affidavit or exhibits she submitted.        To the contrary, Frank-Broussard’s

affidavit is just as conclusory as her bare assertions of fraud and forgery during

the hearing. See Dkt. 57 at 1-12. And many of the exhibits she submitted

address prior lawsuits or property tax disputes that have no bearing on this

case. See Dkt. 57-1, 57-3, 57-4, 57-5, 57-6, 57-7, 57-8, 57-9, 57-10, 57-11, 57-12

(PX-1, PX-3 through PX-12). Stray communications and notices regarding

prior bankruptcy proceedings are equally irrelevant. See Dkt. 57-13, 15-14, 57-

15, 57-16 (PX-13 through PX-16). The remaining exhibits merely include the

deed of trust, Dkt. 57-2 (PX-2), and several notices to vacate the Property

issued on November 2, 2021, January 25, 2022, and December 1, 2022, Dkt.

57-18, 57-19, 57-20 (PX-18 through PX-20). But her challenges to the validity

of those instruments and the foreclosure process were rejected in her three

prior lawsuits. See supra, Background, Part B.2.

      Frank-Broussard’s accusations against Wells Fargo’s counsel similarly

lack credibility. There is no basis for accusing counsel of committing fraud or

any other wrongdoing.       See Dkt. 68 at 21 (alleging that counsel filed


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“fraudulent and bad faith evictions”); id. at 32-33 (alleging her attorney in the

2018 Suit was “compromised” by Wells Fargo’s counsel); id. at 154 (alleging

that counsel “compromised” her attorney in the 2022 Suit); id. at 172 (claiming

“you guys are in a conspiracy fraud”).         The Court also rejects Frank-

Broussard’s baseless assertion that counsel sent her “tainted” mail or damaged

her computer by sending her harmful files. See id. at 11 (unsubstantiated

allegation that “they sent me tainted, harmful mail”); id. at 120 (asserting that

counsel had “destroyed” her electronics).            Instead, Frank-Broussard

intentionally and unjustifiably refused filings properly served by mail. See id.

at 120-21 (admitting she refused mail from Wells Fargo’s counsel); see also,

e.g., Dkt. 28 (Frank-Broussard’s notation “Harmful Mail!!! No Mail!!” on

mailing from counsel).

      Relatedly, Frank-Broussard had no valid basis for repeatedly and

intentionally refusing to accept delivery of filings sent by the Court. See, e.g.,

Dkt. 11, 12, 24. The Court rejects Frank-Broussard’s claimed ignorance of

these proceedings as a delay tactic. See Dkt. 68 at 148. Regardless, Frank-

Broussard’s manufactured assertion that she failed to receive filings is moot,

given that the Court gave her copies of every filing in the case when the show

cause hearing began. See id. at 8, 107-08.

      The Court also finds Frank-Broussard’s assertions that she needs to hire

an attorney constitute an improper attempt to delay. See Dkt. 68 at 10-11; id.


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at 12, 20, 37, 49, 88, 92. Frank-Broussard chose to file this suit, pro se, when

she filed it seven months ago. Since that time, she has had ample opportunity

to retain counsel, if she truly wished to do so. Weeks have now passed since

the show cause hearing, with no indication that she has taken steps to obtain

an attorney. Frank-Broussard’s failure to act does not warrant deferring a

ruling on Wells Fargo’s long-pending motion to dismiss and for sanctions.

       Babineaux’s testimony.         The Court finds credible Babineaux’s

testimony that she was drawn into this suit by her aunt, Frank-Broussard, in

whom she misplaced her trust. 11 Until the Deputy U.S. Marshal contacted her

to arrange personal service of Court orders, Babineaux had not realized she

was a named plaintiff in this suit; she had signed papers that Frank-Broussard

asked her to sign, without reading them. See Dkt. 68 at 230-32. Although

Wells Fargo’s counsel subsequently called her, from Babineaux’s perspective,

he was just “a random guy” with whom she did not wish to speak. See id. at

240.    Given her close relationship with her aunt, she believed Frank-

Broussard’s assertions and did not follow-up on counsel’s allegations. See id.

at 240 (Babineaux took Frank-Broussard at her word); id. at 241 (Babineaux

did not investigate, look into the issues, or read what was filed).




11 At the hearing, Frank-Broussard asserted that she took “full responsibility” for

filing this suit. Dkt. 68 at 236.


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       In addition, Babineaux orally moved to dismiss her claims against Wells

Fargo, with prejudice. See Dkt. 68 at 257-58. Although the undersigned stated

that her request would be granted, see id. at 258, a subsequent order clarified

that her dismissal required a ruling from the presiding district judge, Dkt. 58

at 1 n.1. On the record, however, the Court had warned Babineaux that any

such dismissal would not affect Wells Fargo’s request for sanctions against her

for participating in a frivolous suit. Dkt. 68 at 259. At the Court’s request, see

Dkt. 58 at 2, Wells Fargo also indicated that it would not dismiss its

counterclaims against Babineaux, Dkt. 63.

                                    Analysis

I.     Jurisdiction is proper.

       Because some of Frank-Broussard’s filings embed challenges to this

Court’s subject-matter jurisdiction, that is where the analysis begins.        In

response to the show cause order, Frank-Broussard argued that this case was

improperly “transfer[red]” from state court. Dkt. 36 at 3. That is incorrect.

Federal law authorized Wells Fargo to remove this suit to federal court because

Plaintiffs are domiciled in Texas, Wells Fargo is a national banking association

and citizen of South Dakota, and the amount in controversy exceeds $75,000.

See Dkt. 1 ¶¶ 8-17; 28 U.S.C. §§ 1332, 1441(a), 1446. Plaintiffs have submitted

no evidence contradicting the jurisdictional facts.




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        Frank-Broussard’s further contention that Wells Fargo “does not exist”

is wholly unsubstantiated and does not affect this Court’s jurisdiction, in any

event. To the contrary, her own petition named this Wells Fargo entity as the

defendant. See Dkt. 2 at 6 (DX-1, state court petition). That entity is the same

name as the entity who acquired the deed of trust from Home 123 Corporation

pursuant to the 2015 Assignment. See Dkt. 71-3 (DX-3). Whether couched as

a jurisdictional challenge or otherwise, Frank-Broussard’s challenge to Wells

Fargo’s existence should be rejected.

II.     Frank-Broussard’s “motion to show authority” is meritless.

        Frank-Broussard’s related challenge to the authority of Wells Fargo’s

counsel is flawed. See Dkt. 10; Dkt. 36 at 4-5. She invokes Rule 12 of the Texas

Rules of Civil Procedure, which does not apply in federal court. Dkt. 10; see

T.R. Hoover Cmty. Dev. Corp. v. City of Dallas, 2008 WL 2604818, at *2 n.2

(N.D. Tex. July 2, 2008) (rejecting similar challenge because “this Texas

procedural rule is inapplicable”). Even if that rule applied, the record reflects

that counsel has filed pleadings on Wells Fargo’s behalf, complying with the

signature requirements of Federal Rule of Civil Procedure 11. Counsel does

not “need to demonstrate any additional authority to represent their clients.”

See Wirsche v. Bank of Am., N.A., 2013 WL 6564657, at *2 (S.D. Tex. Dec. 13,

2013).    In any event, Frank-Broussard’s assertions hinge on the baseless




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contention that the client, Wells Fargo, does not exist.           See supra Part I

(rejecting this contention). Her motion to show authority should be denied.

III.     Plaintiffs’ claims are barred by claim preclusion.

         Wells Fargo’s threshold request for dismissal of this suit is a foregone

conclusion, given this Court’s three prior dismissals of Frank-Broussard’s suits

challenging Wells Fargo’s and its mortgage servicer’s exercise of rights to

foreclose on the Property. Plaintiffs’ identical claims here are barred.

         “Claim preclusion, or res judicata, bars the litigation of claims that either

have been litigated or should have been raised in an earlier suit.” Stevens v.

St. Tammany Parish Gov’t, 17 F.4th 563, 570 (5th Cir. 2021). A subsequent

suit is barred if: (1) the parties are the same “or at least [are] in privity with”

the parties in a prior action; (2) the prior judgment was rendered by a court of

competent jurisdiction; (3) the prior action concluded with a final judgment on

the merits; and (4) the prior and current action involve the same claim or cause

action. See United States v. Shanbaum, 10 F.3d 305, 310 (5th Cir. 1994). This

rule “prevents a later suit ... from collaterally attacking a prior judgment by a

court of competent jurisdiction.” Oreck Direct, LLC v. Dyson, Inc., 560 F.3d

398, 401 (5th Cir. 2009). “The res judicata effect of a prior judgment is a

question of law ....” Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 571

(5th Cir. 2005).




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      For the first requirement, the parties are identical to—or are at least in

privity with—the parties in the 2018 Suit, 2020 Suit, and 2022 Suit. Frank-

Broussard was a plaintiff in all three prior suits. See Broussard, 2019 WL

13254589, at *1; Frank, 2020 WL 3473716, at *1; Frank, 2023 WL 4880785, at

*1. Babineaux, although newly added here, allegedly acquired the Property

from Dykeba Frank. See Dkt. 2 at 23 (DX-2 at 3). Dykeba, in turn, was a

plaintiff in both the 2018 Suit and the 2022 Suit and allegedly purchased the

Property from Frank-Broussard. See Broussard, 2019 WL 13254589, at *1;

Frank, 2023 WL 4880785, at *1. Babineaux’s claimed status as the successive

owner of the Property makes her a party in privity with those prior plaintiffs.

See Meza v. Gen. Battery Corp., 908 F.2d 1262, 1266 (5th Cir. 1990) (“For res

judicata purposes ... privity exists ... where the non-party is the successor in

interest to a party’s interest in property.”).

      In addition, Wells Fargo has a pre-existing relationship with the

mortgage servicer that Frank-Broussard sued in the 2018 Suit and 2020 Suit.

See Frank, 2023 WL 4880785, at *5 (Wells Fargo, as assignee of the deed of

trust, is in privity with the mortgage servicer, SLS); see also, e.g., Taylor v.

Sturgell, 553 U.S. 880, 894 (2008) (“[N]onparty preclusion may be justified

based on a variety of pre-existing substantive legal relationship[s] between the

person to be bound and a party to the judgment.”) (internal quotation marks

omitted). Wells Fargo was also the defendant in the 2022 Suit. See Frank,


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2023 WL 4880785, at *1. These facts confirm that Wells Fargo was the same

party or in privity with the defendant in the prior suits.

      The second and third requirements for claim preclusion are also met.

This Court entered final judgments on the merits in all three prior suits. See

2018 Suit, No. 4:18-cv-02415, Dkt. 33 (S.D. Tex. Sept. 18, 2019); 2020 Suit,

4:20-cv-00476, Dkt. 16 (S.D. Tex. June 24, 2020); 2022 Suit, 4:22-cv-00065,

Dkt. 30 (S.D. Tex. Aug. 29, 2023). The Court had jurisdiction to enter each of

those judgments, either based on federal question jurisdiction, 28 U.S.C.

§ 1331, or diversity jurisdiction, id. § 1332. 12

      The last requirement for claim preclusion hinges on a “transactional

test” that examines whether the prior and current actions “were based on the

same nucleus of operative facts.” Eubanks v. Fed. Deposit Ins. Corp., 977 F.2d

166, 171 (5th Cir. 1992) (internal quotation marks omitted). Here, Plaintiffs

assert state-law claims for trespass to try title, violation of the Texas Civil

Practice and Remedies Code by using fraudulent documents to establish a lien



12 See Notice of Removal, 2018 Suit, No. 4:18-cv-02415, Dkt. 1 at 2 (invoking federal

question jurisdiction based on Real Estate Settlement Practices Act claim and
supplemental jurisdiction over other state-law claims, 28 U.S.C. §§ 1331, 1367);
Frank, 2020 WL 3473716, at *1-2 (2020 Suit, denying plaintiff’s motion to remand
upon finding that federal question jurisdiction exists and exercising supplemental
jurisdiction over state-law claims); Notice of Removal, 2022 Suit, No. 4:22-cv-00065,
Dkt. 1 at 3-4 (invoking diversity jurisdiction under 28 U.S.C. § 1332 because plaintiffs
were domiciled in Texas and Wells Fargo, as a national banking institution, is a
citizen of South Dakota, the location of its main office, and the value of plaintiffs’
declaratory relief claim exceeded $75,000).


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on the Property (governed by Section 12.002), and fraudulent and abusive

collection tactics under the Texas Debt Collection Practices Act (“TDCA”). See

Dkt. 2 at 9-11 (DX-1). The subject and substance of these claims are identical

to those in the prior suits.     See Broussard, 2019 WL 13254589, at *3-4

(dismissing trespass to try title and TDCA claims); Frank, 2020 WL 3473716,

at *4 (dismissing trespass to try title and TDCA claims as barred by claim

preclusion); Frank, 2023 WL 4880785, at *5-6 (granting summary judgment on

claims under Tex. Civ. Prac. & Rem. Code Ann. § 12.002).

        The record therefore confirms that all requirements for claim preclusion

are met. All of Frank-Broussard’s and Babineaux’s claims should be dismissed.

IV.     Frank Broussard’s request for leave to amend is denied as futile.

        Frank-Broussard’s request for leave to inject yet more allegations is

denied. Generally, leave to amend a pleading “shall be freely given when

justice so requires.” Fed. R. Civ. P. 15(a)(2). But a court can properly deny

leave to amend “where the proposed amendment would be futile because it

could not survive a motion to dismiss.” Rio Grande Royalty Co. v. Energy

Transfer Partners, L.P., 620 F.3d 465, 468 (5th Cir. 2010).            Whether

amendment would be futile hinges on “the same standard of legal sufficiency

as applies under Rule 12(b)(6).” Stripling v. Jordan Prod. Co., 234 F.3d 863,

873 (5th Cir. 2000) (internal quotation marks omitted).




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      Under Rule 12(b)(6), conclusory allegations do not suffice, Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)—even by pro se plaintiffs, see Chhim v. Univ.

of Tex. at Austin, 836 F.3d 467, 469 (5th Cir. 2016) (“[P]ro se plaintiffs must

still plead factual allegations that raise the right to relief above the speculative

level.”). And allegations of fraud must be pleaded with particularity—an even

stricter standard. See Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d

719, 724 (5th Cir. 2003) (for fraud claims, a plaintiff must set forth “the

particulars of the time, place, and contents of the false representations, as well

as the identity of the person making the misrepresentation and what he

obtained thereby”) (internal quotation marks omitted).

      The proposed amendment mirrors Frank-Broussard’s allegations that

this Court has already considered and rejected in connection with the October

13, 2023 show cause hearing. See supra Background, Part C.4. For instance,

Frank-Broussard asserts that she failed to receive notice of filings, see Dkt. 49

¶¶ 1.1-1.5, yet she has only herself to blame for refusing service of process—

including of orders sent by the Court to her record address, see Dkt. 68 at 7-8

(confirming her address was correct); id. at 121 (Frank-Broussard’s refusal of

mail from Wells Fargo’s counsel). The record also negates her allegations that

any filings are inauthentic or that any signatures of judges or clerks were

“forged.” And Frank-Broussard’s requests for a hearing and copies of the

filings are moot in light of the hours-long show cause hearing where she


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received those filings. Compare Dkt. 49 ¶¶ 1.6, 2.6, with Dkt. 68 at 8 (providing

Frank-Broussard copies of all filings at the show cause hearing).        Frank-

Broussard cannot raise allegations that have already been resolved against

her. In any event, the conclusory nature of her allegations renders them futile.

See Iqbal, 556 U.S. at 678.

      Equally futile are Frank-Broussard’s attempts to relitigate—for the

fourth time—both the validity of Wells Fargo’s interests in the Property and

her prior bankruptcy cases that were dismissed. See, e.g., Dkt. 57 at 6-9

(attempting to challenge validity of prior bankruptcy proceedings); id. at 10-11

(asserting that counsel conspired with her former attorneys to “unlawfully

seize[]” her Property).   Her generalized allegations that various attorneys

involved in prior property tax disputes, bankruptcy proceedings, and federal

and state-court suits committed fraud alongside state and federal judges come

nowhere close to meeting basic pleading standards. Compare, e.g., id. at 3-12,

with Iqbal, 556 U.S. at 678 (“conclusory statements” cannot survive dismissal).

      Frank-Broussard’s allegations against Wells Fargo’s counsel are just as

deficient, replete with bare assertions that counsel committed fraud. See, e.g.,

Dkt. 49 ¶ 1.7 (alleging that counsel “forge[d] Judges and Clerks signatures” on

documents and orders); id. ¶ 2.3 (alleging that counsel or their client

“compromised” the paralegal service that filed Frank-Broussard’s state-court




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pleadings); id. ¶ 2.5 (asserting that counsel and Wells Fargo engaged in “an

elaborate conspiracy of fraud”).

      In addition, Wells Fargo correctly asserts that Frank-Broussard’s

allegations about its counsel’s conduct are barred by attorney immunity. See

Dkt. 62 at 4-5. Under Texas law, attorney immunity is a “comprehensive

affirmative defense protecting attorneys from liability to non-clients,

stemming from the broad declaration ... that attorneys are authorized to

practice their profession, to advise their clients and interpose any defense or

supposed defense, without making themselves liable for damages.” Cantey

Hanger LLP v. Byrd, 467 S.W.3d 477, 481 (Tex. 2015) (internal quotation

marks omitted). Simply labeling counsel’s conduct as fraudulent does not

negate attorney immunity. See Troice v. Proskauer Rose, L.L.P., 816 F.3d 341,

348 (5th Cir. 2016) (no categorical “fraud exception” to attorney immunity); see

also Bethel v. Quilling, Selander, Lownds, Winslett & Moser, P.C., 595 S.W.3d

651, 657 (Tex. 2020) (merely asserting that attorney’s conduct was “criminal”

does not overcome immunity). “Dismissal based on the attorney immunity

defense is proper when the scope of the attorney’s representation—and thus

entitlement to the immunity—[i]s apparent on the face of the complaint.”

Burke v. Ocwen Loan Servicing, L.L.C., 855 F. App’x 180, 186 (5th Cir. 2021)

(internal quotation marks omitted).




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       Frank-Broussard’s allegations target counsel’s conduct during litigation,

including while serving documents in this case, see Dkt. 49 ¶¶ 1.3, 1.7, seeking

to vindicate Wells Fargo’s rights, see id. ¶ 2.5, and obtaining a writ of

possession on Wells Fargo’s behalf, see Dkt. 57 at 12.        This conduct falls

squarely within the scope of counsel’s representation of his client. Cf. Gipson

v. Deutsche Bank Nat’l Trust Co., 2014 WL 11515582, at *5 (N.D. Tex. Dec. 18,

2014) (“Representing a mortgagee by initiating foreclosure proceedings and

filing a foreclosure action against a defaulting homeowner clearly falls within

the scope of an attorney’s duties in representing his client.”).

       Frank-Broussard articulates no plausible basis for overcoming the

immunity barrier. Counsel is therefore immune from her proposed claims.

See, e.g., Burke, 855 F. App’x at 186-87 (affirming dismissal of allegations

against an attorney in a foreclosure case); Iqbal v. Bank of Am., N.A., 559 F.

App’x 363, 364-65 (5th Cir. 2014) (attorneys retained to assist foreclosure were

immune     from    homeowners’    challenge    to   conduct   within   scope   of

representation).   For this additional reason, Frank-Broussard’s proposed

amendment is denied as futile.

V.     Frank-Broussard’s repeated filing of baseless suits warrants a
       pre-suit injunction and monetary sanctions.

       Wells Fargo’s request for sanctions against Plaintiffs includes both a

plea for monetary sanctions consisting of its reasonable attorneys’ fees and



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costs and for injunctive relief to bar Plaintiffs from filing further suits in state

or federal court without prior court permission. See Dkt. 8 ¶¶ 35-40, 43; Dkt.

21. Wells Fargo further seeks sanctions against Dykeba Frank, who is not a

party to this case. See Dkt. 8 ¶¶ 35-41, 43. Based on the evidence at the show

cause hearing, Wells Fargo is entitled to monetary sanctions and more tailored

injunctive relief—but only against Frank-Broussard.

      A.    Frank Broussard qualifies as a vexatious litigant who
            should be enjoined.

            1.     The All Writs Act authorizes pre-suit injunctions against
                   vexatious litigants.

      A threshold question is what framework governs the sanctions request.

Although invoked by Wells Fargo, Federal Rule of Civil Procedure 11 does not

apply for two reasons. First, this case was filed in state court, not federal court.

See Dkt. 1 (notice of removal). Second, Wells Fargo failed to comply with

procedural requirements for obtaining relief under Rule 11. See Fed. R. Civ.

P. 11(c)(2) (prohibiting the filing of Rule 11 motion unless it was first served

on the opposing party, who then has 21 days to withdraw the challenged filing);

see also Elliott v. Tilton, 64 F.3d 213, 216 (5th Cir. 1995) (reversing imposition

of Rule 11 sanctions because the movant failed to comply with the safe harbor

provision in Fed. R. Civ. P. 11(c)(2)).

      Alternatively, Wells Fargo invoked Texas Civil Practice and Remedies

Code § 11.054. That provision authorizes courts to issue an injunction to bar


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a plaintiff from filing new suits without prior permission from an

administrator of the court where the plaintiff wishes to file.           But the

requirements under Section 11.054 are very specific. See Tex. Civ. Prac. &

Rem. Code Ann. § 11.054. And this Court previously declined to rely on Section

11.054 to impose a pre-suit injunction. See 2022 Suit, No. 4:22-cv-00065, Dkt.

29 (entered Aug. 16, 2023).

      Nonetheless, there is another avenue for the relief. As noted in Wells

Fargo’s supplemental brief, Dkt. 21 at 6-7, the All Writs Act authorizes courts

to “issue all writs necessary or appropriate in aid of their respective

jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C.

§ 1651(a). This Act permits federal courts “to enjoin litigants who are abusing

the court system by harassing their opponents.” See Harrelson v. United

States, 613 F.2d 114, 116 (5th Cir. 1980) (per curiam).

      “[I]t is widely accepted that federal courts possess power under the All

Writs Act to issue narrowly tailored orders enjoining repeatedly vexatious

litigants from filing future state court actions without permission from the

court.” Newby v. Enron Corp., 302 F.3d 295, 301 (5th Cir. 2002). The propriety

of such a pre-suit injunction depends on several factors:

      (1) the party’s history of litigation, in particular whether [s]he has
      filed vexatious, harassing, or duplicative lawsuits; (2) whether the
      party had a good faith basis for pursuing the litigation, or simply
      intended to harass; (3) the extent of the burden on the courts and



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       other parties resulting from the party’s filings; and (4) the
       adequacy of alternative sanctions.

Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008) (quoting

Cromer v. Kraft Foods N. Am., Inc., 390 F.3d 812, 818 (4th Cir. 2004)). 13 In

addition, a pre-suit injunction “should be tailored to protect the courts and to

preserve the litigant’s legitimate right to present nonfrivolous claims.” Staten

v. Harrison Cnty., 2021 WL 5766576, at *3 (5th Cir. Dec. 3, 2021) (per curiam).

              2.     Frank-Broussard’s filing of multiple baseless suits
                     concerning the Property warrants a pre-suit injunction.

       Frank-Broussard’s litigation history leaves no doubt that she qualifies

as a vexatious litigant who has abused the judicial system. Worse, Frank-

Broussard has signaled that she will continue to do so. See Dkt. 68 at 171.

This Court should enjoin her—and any person acting at her behest—from filing

future suits concerning the Property, whether in federal or state court, and

whether against Wells Fargo or any person or entity in privity with Wells

Fargo, without obtaining that court’s prior permission.


13 Although Baum vacated the portion of a pre-suit injunction that applied to state-

court filings, the court limited that result to the specific facts. See 513 F.3d at 192 &
n.3 (expressing “no opinion” on “whether a district court’s pre-filing injunction may
extend to state court or state agency filings in other factual circumstances”).
Moreover, to the extent that Baum conflicts with Newby’s authorization of pre-suit
injunctions that extend to state courts under other circumstances, the prior decision
in Newby controls. See Seong Song v. JFE Franchising, Inc., 394 F. Supp. 3d 748,
756-57 (S.D. Tex. 2019) (applying rule of orderliness to conclude a Fifth Circuit panel
decision that conflicted with a prior panel’s decision “is of no effect”) (citing, inter alia,
Teague v. City of Flower Mound, 179 F.3d 377, 383 (5th Cir. 1999); Arnold v. U.S.
Dep’t of Interior, 213 F.3d 193, 196 n.4 (5th Cir. 2000)).


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      First, Frank-Broussard has repeatedly and improperly utilized judicial

proceedings to thwart the lender’s attempt to foreclose. Despite making no

payments on the promissory note since 2015, see Dkt. 68 at 63-64, Frank-

Broussard filed serial bankruptcy petitions between January 2016 and

September 5, 2017, each time to stop foreclosure. She even resorted to falsely

putting an attorney’s name on her Third Bankruptcy filing to circumvent the

bankruptcy court’s order barring her from filing new petitions without

representation from a board-certified bankruptcy lawyer.             See Third

Bankruptcy, No. 17-bk-35280, Dkt. 50 at 15 (entered March 30, 2018).

      The pattern continued for several more years when Frank-Broussard

changed her tactics and resorted to filing suits in state court. All three prior

suits attempted to challenge the loan servicer and Wells Fargo’s rights to

foreclose upon and sell the Property.       See supra Background, Part B.2

(discussing the 2018 Suit, the 2020 Suit, and the 2022 Suit). All of them were

removed to this Court. Every time, this Court rejected her claims.

      Frank-Broussard filed the first of her suits on July 2, 2018.         See

Plaintiff’s Original Petition and Application for Temporary Restraining Order

& Temporary Injunction, Frank Broussard v. Specialized Loan Servicing, LLC,

No. 2018-44213, Envelope No. 25700260 (11th Jud. Dist. Ct., Harris Cnty.,

Tex. July 2, 2018). This Court dismissed the claims on the merits. See 2018

Suit, No. 4:18-cv-02415, Dkt. 23; Broussard, LLC, 2019 WL 13254589, at *1-4.


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      But just one day before a scheduled foreclosure sale, Frank-Broussard

filed the 2020 Suit, asserting the same claims that had been dismissed in the

2018 Suit.      Compare Plaintiff’s Original Petition and Application for

Temporary Restraining Order & Temporary Injunction, Frank v. Specialized

Loan Servicing, LLC, No. 2020-07259 (164th Jud. Dist. Ct., Harris Cnty., Tex.

Feb. 3, 2020), with 2018 Suit, No. 4:18-cv-02415, Dkt. 23. The 2020 Suit was

dismissed as barred by res judicata. See 2020 Suit, No. 4:20-cv-00476, Dkt. 15

at 5-7; Frank, 2020 WL 3473716, at *3-4.

      Frank-Broussard nonetheless filed the same claims again, this time

against Wells Fargo.       See Plaintiff’s Original Petition, Application for

Temporary Restraining Order and Temporary Injunction and Request for

Disclosures, Frank v. Wells Fargo Bank, N.A., No. 2022-00332, Envelope No.

60455740 (80th Jud. Dist. Ct., Harris Cnty., Tex. Jan. 4, 2022). Just like the

2020 Suit, the 2022 Suit was dismissed on res judicata grounds. See 2022 Suit,

4:22-cv-00065, Dkt. 26 at 8-13; id., Dkt. 29 (adopting Dkt. 26); Frank, 2023 WL

4880785, at *4-6. Moreover, this Court found that the 2022 Suit was frivolous,

see Frank, 2023 WL 4880785, at *7, and imposed $14,789.66 in monetary

sanctions against her for filing it, see 2022 Suit, 4:22-cv-00065, Dkt. 29.

      Before the Court had resolved the 2022 Suit, Frank-Broussard filed this

latest suit.   Plaintiff’s Emergency Petition and Application for Temporary

Restraining Order and Temporary Injunction, Babineaux v. Wells Fargo Bank,


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N.A., as Trustee for the Mastr Asset Backed Secs. Trust 2007-NCW Mortgage

Pass-Through Certificates Series 2007-NCW, No. 2023-24436, Envelope No.

74781620 (270th Jud. Dist. Ct., Harris Cnty., Tex. Apr. 18, 2023). She did so

for the improper purpose of halting an impending state-court eviction trial. See

Babineaux, No. 2023-24436, Envelope No. 74781620 (TRO signed April 20,

2023). But the allegations are indistinguishable from those already rejected in

the 2018 Suit, 2020 Suit, and the 2022 Suit. See supra Part III. Like those

prior suits, Frank-Broussard filed this action for the improper purpose of

thwarting the foreclosure and eviction process.

      Second, Frank-Broussard had no good faith basis for repeatedly lodging

the same challenges to Wells Fargo’s or its loan servicer’s rights to foreclose

upon and sell the Property.      Claim preclusion principles barred her from

refiling the same claims, whether against SLS, Wells Fargo, or any entity that

held or may later hold the deed of trust. See supra Part III. Frank-Broussard’s

refusal to accept that result does not make her latest suit any less frivolous.

And her weaponization of court procedures to block the foreclosure process

reflects that she has acted in bad faith.

      Third, Frank-Broussard’s attempts to relitigate the same claims

multiple times has improperly and unnecessarily burdened other parties and

this Court. The loan servicer, SLS, had to defend against the claims twice. Its




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privy, Wells Fargo, has also had to litigate the claims twice. And every time,

the Court has had to evaluate those claims—all with the same result.

      Most recently, Frank-Broussard’s misconduct necessitated a day-long

show cause hearing. Beyond that, the Court has spent considerable time

reviewing many filings and preparing multiple orders and opinions in this

case. Frank-Broussard’s deliberate avoidance of service also consumed more

court resources effectuating in-person service by the U.S. Marshal. These

resources have been wasted on a suit that should not have been filed.

      For the last factor, alternative sanctions would not adequately deter

Frank-Broussard’s contumacious conduct.          Monetary sanctions—though

certainly merited, see infra Part V.A.3, and previously imposed in the 2022

Suit—are likely toothless because Frank-Broussard appears to lack the

financial resources to pay them.      Indeed, the bankruptcy court imposed

monetary sanctions against her. See Third Bankruptcy, No. 4:17-bk-35280,

Dkt. 50 at 21 (entered Mar. 30, 2018). Yet it was that court’s preclusive order—

not the monetary sanctions—that prevented Frank-Broussard from pursuing

another bankruptcy proceeding. See Fourth Bankruptcy, No. 21-bk-33598,

Dkt. 28 (Dec. 7, 2021 order striking petition). This result indicates that the

only adequate remedy is a pre-suit injunction.

      The remaining question concerns the scope of the injunction. Wells

Fargo maintains that it should extend to any federal or state suit that Frank-


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Broussard may file. See Dkt. 8 ¶ 38. This is overbroad because it contains no

subject-matter restriction. See, e.g., Staten, 2021 WL 5766576, at *3 (requiring

pre-suit injunctions to be tailored “to preserve the litigant’s legitimate right to

present nonfrivolous claims”). Because Frank-Broussard’s frivolous filings all

concern the rights to this specific Property, a pre-suit injunction must be

limited to that topic.

      As for the courts where the injunction should apply, Frank-Broussard’s

conduct confirms the necessity of extending it to Texas state court suits that

concern the Property. Indeed, Frank-Broussard filed all four of her suits in

state court, obtaining multiple temporary restraining orders that impaired the

foreclosure process. Only later was the defendant able to remove the case to

this Court and, after expending more resources, eventually obtain dismissal.

Thus, the only adequate means of deterring further abuses is to ensure the

injunction applies both to federal and state courts in Texas. Frank-Broussard

also should be required to obtain permission from the relevant court to file any

new suit over the Property and to provide that court a copy of this Court’s

injunction order when seeking such permission.

      The remaining issue concerns the parties to which the injunction should

apply.   On the plaintiff side, Frank-Broussard has used other family

members—her daughter, Dykeba, and then her niece, Babineaux—as part of

her scheme to delay the Property’s sale. Therefore, the injunction should apply


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not only to Frank-Broussard herself, but to any person acting in concert with

her or on her behalf. On the defense side, Frank-Broussard has threatened to

pursue yet more suits against persons and entities related to Wells Fargo or

those from whom Wells Fargo acquired the deed of trust.

      This vicious cycle must end.       To ensure that result, the pre-suit

injunction against Frank-Broussard, and anyone act with her or on her behalf,

must extend to all Texas courts and protect not only Wells Fargo and SLS, but

all entities and individuals in privity with them, including their attorneys.

            3.    Monetary sanctions are also merited against Frank-
                  Broussard

      The same reasons for imposing monetary sanctions against Frank

Broussard in the 2022 Suit likewise justify monetary sanctions against her in

this case. Because this case began in Texas state court, Texas law authorizes

this Court to impose sanctions against Frank-Broussard for filing a frivolous

action to harass or cause unnecessary delay. See DTND Sierra Invs., L.L.C. v.

HSBC Bank USA, N.A., 627 F. App’x 285, 287-88 (5th Cir. 2015) (per curiam)

(affirming sanctions under chapter 10 of the Texas Civil Practice and Remedies

Code for “aspects of a case that occurred in state court prior to removal to

federal court”) (internal quotation marks omitted); Tex. Civ. Prac. & Rem. Code

Ann. §§ 10.001–10.004. “Violations of Section 10.001 may result in a penalty

‘sufficient to deter repetition of the conduct’ including expenses incurred as a



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result of the violation, attorneys’ fees, and a penalty to be paid to the court.”

DTND Sierra Invs., 627 F. App’x at 287-88 (quoting Tex. Civ. Prac. & Rem.

Code § 10.004).

      As concluded in the 2022 Suit and detailed above, Frank-Broussard filed

this baseless suit for the improper purpose of attempting to forestall the

foreclosure and sale of the Property. Monetary sanctions are warranted both

as a deterrent, see Tex. Civ. Prac. & Rem. Code § 10.004(b), and to compensate

Wells Fargo for expenses incurred while defending a suit that should not have

been filed, see id. § 10.004(c)(3) (authorizing “an order to pay to the other party

the amount of the reasonable expenses incurred by the other party because of

the filing of the pleading or motion, including reasonable attorney’s fees”).

      Although Wells Fargo submitted an affidavit detailing a portion of the

relevant attorneys’ fees and costs, its submission did not include the expenses

associated with the full-day show cause hearing. See Dkt. 71-37 at 3-4. Rather

than address the quantum of monetary sanctions piecemeal, the most efficient

course is to await entry of final judgment and resolve the total compensable

attorneys’ fees and costs at that time.

            4.     Sanctions against Babineaux and Dykeba Frank are
                   unwarranted.

      The evidence at the show cause hearing confirms that sanctions against

Frank-Broussard’s niece and fellow plaintiff, Babineaux, are not warranted.



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Babineaux was not the driver behind this suit—that was Frank-Broussard

alone.     Frank-Broussard manipulated Babineaux into signing the original

petition, which Babineaux did not read because she misplaced her trust in

Frank-Broussard. See Dkt. 68 at 230-33. Indeed, Babineaux did not sign any

pleading other than the original petition. Compare Dkt. 2 at 17 (original

petition with both parties’ signatures), with Dkt. 36 at 7 (Frank-Broussard’s

signature only), and Dkt. 37 at 7-8 (same), and Dkt. 38 at 9 (same), and Dkt.

40 at 9 (same). Moreover, Babineaux was not involved in the 2018 Suit, 2020

Suit, or 2022 Suit, much less Frank-Broussard’s bankruptcy proceedings. The

facts do not support classifying Babineaux as a vexatious litigant under federal

or state law. Given her lack of culpability, the Court finds no basis for imposing

sanctions against her.

         Even less tenable is Wells Fargo’s request for sanctions against Dykeba

Frank. See Dkt. 8 ¶¶ 35-41, 43. Dykeba is not a party to this suit. The Court

cannot sanction Dykeba for filing or pursuing a case that she neither filed nor

pursued.

VI.      Babineaux’s request to dismiss her claims is proper.

         On the record at the October 23, 2023 hearing, Babineaux moved to

dismiss her claims against Wells Fargo. See Dkt. 68 at 257-58. In her words,

“I don’t want to be involved. I will not sue nothing. I’m just completely done.”

Id. at 257. She further stated that her dismissal would be with prejudice,


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confirming her understanding that she would no longer be allowed to file these

claims against Wells Fargo. See id. at 258. Wells Fargo stated that it was

unopposed to Babineaux’s request. 14 See Dkt. 63. This Court should grant

Babineaux’s motion to dismiss her claims, with prejudice.

                         Recommendation and Order

        For the foregoing reasons, it is RECOMMENDED that Defendant Wells

Fargo’s combined motion to dismiss and for sanctions (Dkt. 8) be GRANTED

IN PART and DENIED IN PART, as follows:

(1)     Plaintiffs Yolanda Frank-Broussard and Jasmine Babineaux’s claims

        should be DISMISSED WITH PREJUDICE;

(2)     Frank-Broussard, as well as any persons acting on her behalf or in

        concert with her, should be ENJOINED from filing, in any state or

        federal court in Texas, any further lawsuits concerning the property at

        6111 Westover Street in Houston, Texas, 77033, against Wells Fargo, its

        mortgage servicer Specialized Loan Servicing, LLC (“SLS”), their

        attorneys, or any party in privity with Wells Fargo or SLS, unless Frank-

        Broussard first obtains permission from the court where she wishes to

        file the suit. When seeking that permission, Frank-Broussard must


14 In a subsequent filing, and at the Court’s request, Wells Fargo clarified that it was

not dismissing its pending counterclaims against Babineaux. See Dkt. 63 ¶ 3. This
is because Babineaux’s name is on certain filings in the real property records that
Wells Fargo maintains have clouded its title to the Property. See id. ¶¶ 3-4.


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        provide a copy of this Memorandum and Recommendation and any

        subsequent order adopting it;

(3)     Wells Fargo’s further request for monetary sanctions against Frank-

        Broussard, consisting of reasonable attorneys’ fees and costs expended

        defending against this frivolous suit, should be GRANTED in an

        amount to be determined after entry of final judgment; and

(4)     Wells Fargo’s requests for sanctions against Babineaux and non-party

        Dykeba Frank should be DENIED.

        It is further RECOMMENDED that (a) Frank-Broussard’s motion

challenging the authority of Wells Fargo’s counsel (Dkt. 10; see also Dkt. 36 at

4-5) be DENIED; and (b) Babineaux’s oral motion to dismiss, with prejudice,

her claims against Wells Fargo (Dkt. 68 at 257-58) be GRANTED.

        In addition, it is ORDERED that Frank-Broussard’s motion for leave to

amend (Dkt. 49) is DENIED.

        For clarity, Wells Fargo’s counterclaims against Frank-Broussard and

Babineaux, Dkt. 60, remain pending, along with its motion for summary

judgment on some of those counterclaims, Dkt. 70.

        The parties have fourteen days from service of this Report and

Recommendation to file written objections. 28 U.S.C. § 636(b)(1); Fed.

R. Civ. P. 72(b).       Failure to file timely objections will preclude

appellate review of factual findings and legal conclusions, except for


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plain error. Ortiz v. City of San Antonio Fire Dep’t, 806 F.3d 822, 825

(5th Cir. 2015).

                                      ouston, Texas.
     Signed on November 29, 2023, at Houston,



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                                           ______________________________
                                           Yvonne Y. Ho
                                           United States Magistrate Judge
                                                                    Judg




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